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     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK

             In re:
                                                                            Chapter 11
             286 RIDER AVE ACQUISITION LLC,
                                                                            Case No. 21-11298-LGB
                                         Debtor.
                                                                           RELATED DOC. NO. 5


     OBJECTION OF 286 RIDER AVE DEVELOPMENT LLC TO ORDER GRANTING
     286 RIDER AVE ACQUISITION LLC’S EX PARTE MOTION FOR ENTRY OF AN
    ORDER PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING DISCOVERY
    EXAMINATIONS OF (I) TOBY MOSKOVITS AND (II) MICHAEL LICHTENSTEIN

         286 Rider Ave Development LLC (“Development”), by and through undersigned

counsel, files its objection (this “Objection”) to the Court’s Order (the “2004 Order”) [ECF No.

5] Granting the Ex Parte Motion (the “Ex Parte Motion”) [ECF No. 4] of 286 Rider Ave

Acquisition LLC (“Debtor”) for Entry of an Order Pursuant to Bankruptcy Rule 2004

Authorizing Discovery Examinations of (i) Toby Moskovits (“Ms. Moskovits”) and (ii) Michael

Lichtenstein (“Mr. Lichtenstein”). In support of this Objection, Development says:

                                            Preliminary Statement

         As more fully delineated in Development’s motion to dismiss the bankruptcy case (the

“MTD”) which will be filed on August 4, 2021, Be-Aviv 286 Rider LLC (“Lender”) has gone so

far over the line in its tactics that this bankruptcy case should be immediately dismissed. Thus,

Development respectfully submits that the 2004 Order, granted on an ex parte basis, should be

held in abeyance pending the Court’s ruling on the MTD.1 As will be shown in the MTD,


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  Prior to filing this objection, Development's counsel contacted counsel to the purported "debtor" and requested that
the 2004 Order be held in abeyance pending this Court's ruling on the MTD. Purported "debtor's" counsel did not
agree citing pressure from the Office of the United States Trustee to file Schedules and a Statement of Financial
Affairs. Development files this objection and reserves its right and respectfully suggests that the parties engage in
further discussions regarding this 2004 Order and this objection prior to seeking a discovery conference or a hearing
before the Court.


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requiring Development to comply with discovery demands at this time, in a bad faith and

improper filing, would give inappropriate legitimacy to the case. Further, it would be inimical to

notions of judicial and estate economy and fundamental fairness to permit discovery to go

forward under the extant circumstances. Indeed, there is no urgency to the discovery which is

targeted to the Lender obtaining sufficient information to file schedules of assets and liabilities

and a statement of financial affairs. If the Court does not grant the MTD, Development will, of

course, comply with the 2004 Order immediately.

       To provide the Court with some background, Lender is using the bankruptcy process

improperly as a collection device in a two-party contested dispute without even attempting to

exhaust its state law remedies while pre-petition litigation is pending. By effectively forcing a

bankruptcy involuntarily and an expedited sale of the real property therein, Lender is running

roughshod over the borrower’s equity of redemption and due process rights and diverging from

typical and appropriate creditor enforcement schemes. If Lender’s bad faith improper use of the

bankruptcy process is countenanced, this precedent could be a public policy disaster. What will

stop any lender that desires to avoid having to engage in contested litigation with a borrower

over a default, or to avoid having to conduct a UCC Article 9 sale or a judicial foreclosure

action, from merely exercising a pledge of the equity interests, providing notice of such transfer,

commencing a bankruptcy case, and establishing a sale process of the real estate? In that

paradigm, the UCC and the RPAPL are rendered meaningless in the presence of a pledge of

equity and section 363 of chapter 11 of Title 11 of the United States Code (the “Bankruptcy

Code”). Under these circumstances, the Pledgee need not have any creditors other than the

secured creditor who would have succeeded in weaponizing its pledge to effect a single asset real

estate bankruptcy case for the exclusive benefit of the secured party without the typical balancing



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influence of a secured creditor attacking the case as a bad faith filing since, in this matter, the

secured creditor is the sponsor of the case.

        What makes Lender’s end run around conventional practice even more egregious is that

Lender has sought to execute its rogue collection efforts during the pendency of a state court

litigation commenced by the mezzanine loan borrower to determine that Lender is in default

under the loan documents. To make matters even worse, in that case the Lender has defaulted in

its obligation to answer or otherwise move with respect to the complaint in the State Court

Proceeding (as defined below).

       In addition to the threshold issue above, this bad faith, improper bankruptcy case should

also be dismissed on multiple other grounds, including that:

       A.      The Pledge itself is defective, as it is not signed by the proper party with authority
               to bind the purported Pledgor.

       B.      This bankruptcy case is the inverse of the archetypal bad faith single asset real
               estate filings but should be analyzed under the same rubric. The purported Debtor
               has few, if any, other creditors and there is a pending state court litigation which
               Lender (pretending to be a debtor) has sought to stymie. This is simply a two-
               party collection dispute and there is no proper purpose for a bankruptcy case and
               the case should be dismissed under Section 1112 of the Bankruptcy Code.

       C.      Rather than acting in an appropriate and required fashion as a secured creditor by
               commencing a public UCC sale, Lender has weaponized its defective pledge to
               commence a bankruptcy case in which it seeks to sell its real estate collateral.
               This would allow Lender to avoid the consequences of its bad faith pre-petition
               conduct (and its default in the state court action) as set forth in the
               pledgor/borrower’s state court action and the time, expense, and delay and
               attendant due process in a state law foreclosure action.

       D.      In addition to failing to obtain an effective and legally binding pledge of the
               membership interests, Lender also has acted improperly by clogging the
               pledgor/borrower’s equity of redemption. It is axiomatic that where a lender holds
               dual collateral with respect to the same real estate project—a pledge of
               membership interests in the borrower and a mortgage on the borrower’s land—
               that even in the context of a UCC Article 9 sale, the attenuated time frames of
               such UCC sale process can improperly deprive a borrower from its equity of
               redemption in a real estate foreclosure context. Here, the facts are egregious: the


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               Lender is oversecured and there is substantial value to redeem. Lender
               disregarded the UCC Article 9 sale step and went directly to an expedited 363
               sale, thereby clogging the equity of redemption profoundly.

       E.      Lender’s rogue tactics should be seen for what they are—a disguised involuntary
               proceeding where the debt is in bona fide dispute. Like most bad faith involuntary
               proceedings filed by a single creditor where the creditor is using the bankruptcy
               forum as a collection device without exhausting its state law remedies, the Court
               should summarily dismiss or abstain from hearing this case pursuant to sections
               303 and/or 305 of the Bankruptcy Code.

                                         Background

       1.      Development owns 100% of the membership interests of Debtor (the

“Membership Interests”). On or about September 19, 2019, Debtor received a loan in the

principal amount of $8,000,000.00 (the “Loan”) from Lender. The Loan is evidenced by a

Promissory Note dated September 19, 2019 given by Debtor to Lender and a Mortgage and

Security Agreement of even date pursuant to which Debtor granted Lender a mortgage on that

certain real property located at 286 Rider Avenue, Bronx, New York (collectively, the “Loan

Documents”).

       2.      As additional collateral for the Loan, Development executed and delivered to

Lender a pledge of the Membership Interests in the Debtor pursuant to a Membership Interest

Pledge Agreement (the “Pledge Agreement”) and a corresponding Assignment of those

Membership Interests, both dated September 19, 2019.

       3.      By letter dated March 2, 2021, Lender notified Debtor of a purported default

under the Loan Documents and demanded immediate payment of all amounts then due (the

“First Default Notice”).

       4.      Following receipt of the First Default Notice, the Debtor and certain of its

affiliates filed a complaint against Lender and others in the Supreme Court of the State of New

York, Kings County, for, among other things, Lender’s failure to advance funds as required by


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the Loan Documents and certain other bad acts giving rise to lender liability claims, In re:

Heritage 875 4th Avenue LLC, et al. v. Aviv Arava Management, LLC, et al., Index No.

506131/2021 (the “State Court Proceeding”).

        5.      By letter dated April 27, 2021, Lender notified Debtor that it was in (purported)

continuing default of the Loan Documents and Lender then transferred the Membership Interests

to Lender’s own name as if Lender was the absolute owner thereof (the “Transfer of Membership

Interests”). Shortly thereafter, on July 15, 2021, the Debtor filed this unauthorized and bad faith

Bankruptcy Case to advance its interests in what is essentially a two party dispute in a pending

litigation in which the lender had defaulted, to effect an expedited bankruptcy sale of the

Property in clear violation of New York law regarding the improper clogging of the equity of

redemption where a lender holds dual collateral (a pledge of equity and a mortgage), an unlawful

exercise of a Pledge, and numerous other defects and improper actions. The myriad fatal defects

of this bankruptcy case will be detailed in Development's motion to dismiss the Bankruptcy Case

that will be set forth at length

                                            Objection

        6.      Lender caused the purported "debtor" to file this Bankruptcy Case in bad faith, to

avoid liability for Lender’s own bad acts which are the subject of the State Court Proceeding

while using chapter 11 as a collection proceeding. Lender’s transfer of the Membership Interests

of the Debtor to itself, to the extent effective, are subject to turnover to Development. As such,

Development intends to file a motion to dismiss the Bankruptcy Case pursuant to, inter alia, 11

U.S.C. §§ 303, 305, 543, and 1112(b)(1) for those and other reasons.

        7.      The 2004 Order directs Ms. Moskovits and Mr. Lichtenstein each to produce

documents responsive to eleven (11) broad and largely duplicative categories of requests, many



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of which are irrelevant to even a good faith chapter 11 filing (which this is not). At a minimum,

the Court should require Lender to confer with Development’s counsel in good faith prior to

narrow the scope of the requests prior to requiring Development to engage in any production.

       8.     For the foregoing reasons, Development objects to the 2004 Order and

respectfully requests that compliance with such order be held in abeyance until after the Court

rules on the MTD.     Development reserves the right, pursuant to Local Rule 7007-1, to seek

Court intervention to resolve discovery disputes whether by conference or motion.

Dated: New York, New York
       August 3, 2021
                                            AKERMAN LLP


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